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                    UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION


Laurina Kim Bukovics,                                    Case No. 15 B 38069
                                                         Chapter 7
                       Debtor.

Laurina Kim Bukovics,

                       Plaintiff,                        Adv. No. 17 A 186

       v.                                                Hon. Jack B. Schmetterer

Navient,                                                 Trial Date: May 7, 2018

                       Defendant.

                                 PLAINTIFF’S TRIAL WITNESS

       Plaintiff hereby gives notice that her only witness at the trial set in this matter shall be

herself, Laurina Bukovics. Plaintiff will testify in her direct testimony on the following subjects:

her college education and post-college education and certifications; the origin of her student

loans; payments made on the student loans; forbearances, deferments, and payment plan obtained

for her student loans (and the circumstances concerning each); her current employment status;

her expected expenditures; and her lack of retirements savings.


Dated: April 23, 2018                          /s/ William J. Barrett
                                               WILLIAM J. BARRETT
                                               Barack Ferrazzano Kirschbaum &
                                               Nagelberg LLP
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                                 CERTIFICATE OF SERVICE

        I, William J. Barrett, an attorney, hereby certify that on April 23, 2018, a true and correct
copy of the PLAINTIFF’S TRIAL WITNESS, was duly served from the Court’s ECF system
on all parties receiving electronic notification in this case as listed on the Electronic Mail Notice
List below.


                                                       /s/ William J. Barrett


Mailing Information for Case 17-00186

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

   •   William J. Barrett william.barrett@bfkn.com,
       mark.mackowiak@bfkn.com;gregory.demo@bfkn.com;ecf-
       6ec602372536@ecf.pacerpro.com;william-barrett-bfkn-3622@ecf.pacerpro.com
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